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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


TYCO HEALTHCARE GROUP LP,                           ) CIVIL ACTION NO. 2:07CV262(TJW)
MALLINCKRODT INC. and LIEBEL                        )
FLARSHEIM COMPANY                                   ) JURY TRIAL DEMANDED
                                                    )
                  Plaintiffs,                       )
                                                    )
           vs.                                      )
                                                    )
E-Z-EM, INC.                                        )
                                                    )
                  Defendant.                        )
                                                    )
                                                    )


 STIPULATION AND MOTION REGARDING DEFENDANT’S MOTION TO DISMISS
                AND REGARDING AMENDED PLEADINGS


           Plaintiffs Tyco Healthcare LP(“Tyco”), Mallinckrodt Inc. (“Mallinckrodt”) and Liebel-

Flarsheim Company (“L-F”), and Defendant E-Z-EM, Inc. (“E-Z-EM”), by and through their

respective counsel, agree as follows:

           WHEREAS, E-Z-EM filed its Motion to Dismiss Tyco and Mallinckrodt on August 30,

2007, alleging that Tyco and Mallinckrodt lacked standing to sue for infringement of the patent-

in-suit;

           WHEREAS, Plaintiffs have informed Defendant that Mallinckrodt has standing as an

implied exclusive licensee of the patent-in-suit;

           WHEREAS, in order to avoid unnecessary motion practice, Defendant has agreed to

withdraw its Motion to Dismiss Tyco and Mallinckrodt, and Plaintiffs have agreed to voluntarily

dismiss Tyco with prejudice;

           WHEREAS, Plaintiffs have agreed to respond to discovery in the above-captioned action

on behalf of Tyco as if Tyco remained a party to the action;

           WHEREAS, Mallinckrodt and L-F have agreed to file a First Amended Complaint

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indicating that Mallinckrodt is an implied exclusive licensee of the patent-in-suit;

           WHEREAS, E-Z-EM consents to Mallinckrodt and L-F filing a First Amended

Complaint, a copy of which is attached as Exhibit A hereto;

           WHEREAS, E-Z-EM filed its Answer, Affirmative Defenses and Counterclaim to L-F’s

Complaint on August 30, 2007;

           WHEREAS, E-Z-EM intends to answer Mallinckrodt’s and L-F’s First Amended

Complaint, and E-Z-EM intends to amend its Counterclaim to include allegations against both

Mallinckrodt and L-F;

           WHEREAS, Mallinckrodt and L-F consent to E-Z-EM filing a First Amended

Counterclaim;

           WHEREAS, L-F’s response to E-Z-EM’s original Counterclaim would be due on

September 24, 2007 if not superseded by the First Amended Counterclaim prior to that date;

           WHEREAS, E-Z-EM has agreed to extend L-F’s time to respond to the original

Counterclaim until October 14, 2007, to provide E-Z-EM sufficient time to file a First Amended

Counterclaim, which supersedes the original Counterclaim, and to provide Mallinckrodt and L-F

sufficient time to respond to E-Z-EM’s First Amended Counterclaim;

           Accordingly, the parties hereby move as follows:

           L-F shall have until October 14, 2007 to respond to E-Z-EM’s original Counterclaim,

unless superseded by E-Z-EM’s First Amended Counterclaim.




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DATED: September 14, 2007                           By:   ___/s/____________________

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DATED: September 14, 2007                           By: ___/s/___________________________

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                                  CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing document was filed electronically in
compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who
are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to
Fed.R.Civ.P. 5(d) and Local Rule CV-5(e), all other counsel of record not deemed to have
consented to electronic service were served with a true ad correct copy of this document via
email, facsimile and/or U.S. First Class Mail this 14th day of September, 2007.

                                                /s/
                                                Melissa R. Smith




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